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              EXHIBIT 35
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      DKT NO:    X06-UWY-CV186046436-S          COMPLEX LITIGATION DKT

      ERICA LAFFERTY                            JUDICIAL DISTRICT WATERBURY



•     v.
      ALEX EMRIC JONES

      DKT NO:    X06-UWY-CV186046437-S
                                                AT WATERBURY, CONNECTICUT

                                                SEPTEMBER 22, 2022




      WILLIAM SHERLACH

      v.
      ALEX EMRIC JONES


      DKT NO:    X06-UWY-CV186046438-S


      WILLIAM SHERLACH

      v.

      ALEX EMRIC JONES

                              TRIAL (A.M. SESSION VOLUME 2)

                BEFORE THE HONORABLE BARBARA N. BELLIS, JUDGE,
                                   AND A JURY



•     (TESTIMONY OF ALEX JONES)

      A P P E A R A N C E S :


           Representing the Plaintiff(s):


                ATTORNEY CHRISTOPHER MATTEI
                ATTORNEY ALINOR STERLING
                ATTORNEY MATTHEW BLUMENTHAL
                ATTORNEY JOSHUA KOSKOFF
                Koskoff, Koskoff & Bieder
                350 Fairfield Ave. Ste 501
                Bridgeport, Connecticut 06604


                ATTORNEY NORMAN PATTIS for Jones Defendants




                                            Recorded By:
                                            Darlene Orsatti




•                                           Transcribed By:
                                            Darlene Orsatti
                                            Court Recording Monitor
                                            400 Grand Street
                                            Waterbury, CT 06702
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    1                          *             *               *


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     3

     4             here.
                           (Jury panel exits the courtroom).

                           THE COURT:     I think he's following the rules

                             I think he was probably going to say one of

     5             the bankruptcy -

     6                     ATTY. MATTEI:     Who was he going to say?

     7                     THE WITNESS:     Just the bankruptcy people are in

     8             control of it.

     9                     ATTY. MATTEI:     Who sends you the daily sales

    10             report?

    11                     ATTY. PATTIS:     Objection.    Objection.

    12             Objection.

    13                     THE COURT:     All right.



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    16
                   it all -
                           THE WITNESS:



                           ATTY. PATTIS:
                                            They don't - they've taken



                                             Objection.

    17                     THE COURT:     Well that was nice and loud.

    18                     ATTY. PATTIS:     I'm getting there, Judge.

    19                     THE COURT:     So -

    20                     ATTY. MATTEI:     That calls for the identity of

    21              the person.

    22                     THE COURT:     No - no.     So in fairness to Mr.

    23              Jones, he could have said whatever the lingo is for a

    24              bankruptcy - what were you going to say Mr. Jones?




•
    25                     THE WITNESS:     Yes, until yesterday the CRO, the

    26              bankruptcies in full control of everything.

    27                     THE COURT:     All right.
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 4 of 57      2


     1                   THE WITNESS:     And they -



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                         ATTY. MATTEI:

                   question.

                         ATTY. PATTIS:
                                           That's not responsive to my



                                           Objection.

     5                   THE COURT:     No -

     6                   THE WITNESS:     Cause I can't say -

     7                   THE COURT:     So the question - no, you did the

     8             right thing.

     9                   THE WITNESS:     Okay.     Yeah.

    10                   THE COURT:     You asked who sends him the daily -

    11             who gets the daily sales reports now, and if the

    12             answer was the bankruptcy person, then he knows he's




•
    13             not supposed to say that.

    14                   ATTY. MATTEI:     I said who sends you daily sales

    15             reports.

    16                   ATTY. PATTIS:     And he said no one does.      When he

    17             gets them, he gets them from the bankruptcy people.

    18                   ATTY. MATTEI: I don't think he said no -

    19                   ATTY. PATTIS:     He said no on two or three times.

    20                   THE WITNESS:     That is correct.

    21                   THE COURT:     All right.     So what do you propose

    22             to do?     Because he's following the rules -

    23                   ATTY. MATTEI:     Move on.

    24                   THE COURT:     Okay.     Well done Mr. Jones.




•
    25                   THE WITNESS:     Thank you.

    26                   THE COURT:     You're welcome.     All right.   So why

    27             don't we get the panel.         I think it's a good thing we
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 5 of 57


     1             brought the coffee pot today.



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                         ATTY. PATTIS:       And can the jury be informed that

                   the was an appropriate break because there was some

                   concern about compliance with a Court order?

     5                   THE COURT:    No.

     6                    (Jury panel enters the courtroom).

     7                   THE COURT:    All righty.     Welcome back.     Take

     8             your seats whenever you're comfortable.         So,   I hope

     9             you don't think we're - please be seated.           I hope you

    10             don't think we're being impolite.        We have issues to

    11             discuss, and it's so much easier to have you all get

    12             up and go to your room, than us trying to all set up

    13             somewhere else.     So just bear with us.



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    16
                         ATTY. MATTEI:       Thank you, your Honor.

           DIRECT EXAMINATION RESUMES OF MR. JONES

           BY ATTY. MATTEI:

    17         Q   Mr. Jones,   I want to shift gears a little bit.            Would

    18     you agree with me that your reputation is very important to

    19     you?

    20                   ATTY. PATTIS:       Objection to the form,    Judge.

    21                   THE COURT:    Overruled.

    22         A   No,   I don't agree with you.

    23         Q   But you agree that protecting your identity from lies

    24     and false things about you is something that you care about.




•
    25         A    I care about freedom.

    26         Q    That wasn't my question.       So, my question was, would

    27     you agree that protecting your identity, your own identity,
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 6 of 57   4


     1     from people lying about you and spreading false things about



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           you, that's important to you,



               A    Yes.
                           THE COURT:
                                               is it not?

                                         It's a yes or a no or I don't know.



     5         Q    And that's just a human thing, isn't it?         Nobody

     6     wants to be lied about, right?

     7         A    No.

     8         Q    And particularly about the core things that make them

     9     who they are.      Correct?

    10         A    Yes.

    11         Q    And you have those things in your life.         Your family,

    12     yes?




•
    13         A    Yes.

    14         Q    Your work?

    15         A    Yes.

    16         Q    Your relationships with your loved ones, right?

    17         A    Yes.

    18         Q    The lessons you learned as a young person about how

    19     to be in the world.      Yes?

    20         A    Yes.

    21         Q    All of things that go into who you are as a person,

    22     right?

    23         A    Yes.

    24         Q    And you would never want to be maligned or lied about




•
    25     without those things that are core to you.          Correct?

    26         A    Yes, but I have been plenty.

    27         Q    You have been, and that's been hurtful,        isn't it?
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 7 of 57      5


    1         A    The world isn't a easy place.        When people become



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           political figures,

              Q    You know,
                                 they get in the arena.

                               I think that that was probably what you

           were just trying to do there was to suggest that -

     5                    ATTY. PATTIS:    Objection.

     6                    THE COURT:   Sustained.    And as I told the jury,

     7             and I know you're probably sick of hearing it from

     8             me, but this case is not about politics.           Okay.    It's

     9             a hearing in damages.      Why don't you move on.

    10        Q    Were you just trying to suggest that my client's,

    11     these families, deserve what they got because they had

    12     stepped into the area?      Is that what you were just trying to

    13     say?



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    16
               A   No.
                          ATTY. PATTIS:



                          THE COURT:
                                           Objection.



                                       Overruled.
                                                         Argumentative.




    17         Q   That's not what you're - okay.        Thank you.

    18         A   But I'm saying, when you get -

    19         Q   That's not what you were saying.

    20                    THE COURT:   Just wait for the - Mr. Jones.

    21         A   Yes, ma'am.

    22         Q   So the - what I'm trying to get at though Mr. Jones,

    23     is that these things that are core to who you are or anybody

    24     is, they're lied about, and defamed.         Even just a small




•
    25     group of people, that can be very hurtful, can't it?

    26         A   Yes.

    27         Q   And although you've been critical of this Court and
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 8 of 57


     1     the judicial system, you yourself have sought protection in



•    2

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           the courts when people have lied about you.

               A

               Q
                    I mean,

                    Yeah.
                               I had before.
                                                                   Haven't you?



                              And in fact, during this very lawsuit, you

     5     yourself have brought a lawsuit against others who you

     6     claimed had defamed you.         Correct?

     7         A    You talking about the Young Turks?

     8         Q    Yeah.

     9         A    Um-hum.

    10         Q    You did that,    right?

    11         A    Yes.

    12         Q    Can we bring up Exhibit 434 for Mr. Jones, please?

    13                      THE COURT:   Is it full or ID?



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    16
                            THE CLERK:

                            THE COURT:

                            ATTY. MATTEI:
                                         ID, your Honor.

                                         134.

                                              434, your Honor.

    17                      ATTY. PATTIS:     Politics.     Motion in limine.

    18              Politics.

    19                      THE COURT:   Why don't I take a look at it first?

    20                      ATTY. MATTEI:     Sure.

    21                      THE COURT:   So, Mr. Jones,      just give me -

    22                      ATTY. MATTEI:     Mr. Jones was asked about this in

    23              his deposition, your Honor.

    24                      ATTY. PATTIS:     It's non - it doesn't matter,




•
    25              Judge.

    26                      THE COURT:   How many pages is this?

    27                      ATTY. MATTEI:     Your Honor,    I could tell you.
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 9 of 57    7


     1             Nine pages, I believe.      There's an exhibit in the



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                   back that's attached.

                         THE COURT:

                         ATTY. MATTEI:
                                       Are the ID in here too?

                                           Can I give you - I can give you

     5             my copy, Judge, if you want to look at it.

     6                   THE COURT:    No, that's - I don't want to take

     7             your copy.    Just give me a minute.       We have to keep

     8             Ron on his toes.      Thank you.   May I see counsel on a

     9             sidebar, please?

    10                    (Sidebar conversation begins).

    11                   THE COURT:    I don't know who the Young Turks, or

    12             I didn't see anything in that complaint that's about




•
    13             politics at all.

    14                   ATTY. PATTIS:     He's going to talk about why he

    15             sued the Young Turks.       And he believes that
                                                                I
                                                                    they're

    16             part of another political conspiracy.         I mean, the

    17             problem with this fella, everything is part of a

    18             conspiracy.

    19                   ATTY. MATTEI:     The complaint, it's just an

    20             admission.     It's offered to show his knowledge in

    21             damages with the understanding that's that the -

    22                   THE COURT:    Yeah.

    23                   ATTY. MATTEI:     - Young Turks are another media

    24             organization.




•
    25                   THE COURT:    They're a media organization.

    26                   ATTY. MATTEI:     They're a media organization.

    27                   ATTY. PATTIS:     Right.
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     1                 ATTY. MATTEI:     That's it.



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                       ATTY.   PATTIS:   They're competing people who he

                thinks got co-opted as part of a conspiracy against

                him.

     5                 ATTY. MATTEI:     But look, that to me isn't

     6          politics.      And beyond that, that's not relevant for

     7          the prudist to which -      for which this is Inaudible).

     8                 ATTY.   PATTIS:   But you don't get to - my - my

     9          position is, Judge, that the plaintiff's don't get to

    10          choose the purpose without opening - they can't say,

    11          well, we get to hurt, but you can't help your own

    12          client.     It doesn't work that way.

    13                 ATTY. MATTEI:     Well,   I -



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                       ATTY.   PATTIS:   In the same way that many of the

                exhibits contain the very figures who's names I'm

                permitted from mentioning.

    17                 THE COURT:    You can -    I understand -

    18                 ATTY. MATTEI:     I'm using it.    And so -

    19                 ATTY.   PATTIS:   Well,   I don't about you're using

    20          it.    The Court needs to rule on it.

    21                 ATTY. MATTEI:     I'd ask you - this opens the door

    22          to anything beyond the issues that I'm asking.

    23                 ATTY.   PATTIS:   I'll ask him why he sued the

    24          Young Turks, and then they're going to have to live




•
    25          with that answer.

    26                 THE COURT:    And is it going to violate my order?

    27                 ATTY.   PATTIS:   It might.
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     1                      THE COURT:   But you don't know.     It might, it



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                    might not.     I mean, I don't know -

                            ATTY. PATTIS:   If he answers truthfully - if he

                    answers truthfully, he will talk about them being

     5              part of - having been co-opted by a political

     6              opponent.     Yes.

     7                      ATTY. MATTEI:   Based on what?     Hearsay?

     8                      ATTY. PATTIS:   He doesn't have to give you

     9              that - it's his understanding.

    10                      THE COURT:   But we could still - you discuss it

    11              then I'll just instruct the jury like I did politics.

    12                      ATTY. PATTIS:   Well, I mean my contention Judge,

    13              is they don't - that the plaintiff's do not get to


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                    open a door and then say you can't look inside the

                    room.     And so there are ways to do this without

                    opening that door.      But if they're going to open it,

    17              we're going to walk.

    18                      THE COURT:   So how do you do it without opening

    19              the door?

    20                      ATTY. PATTIS:   We've sued, you know about

    21              damages - if the contention is, you sued.         You know

    22              how people can sue for defamation for another group.

    23              Correct.     He acknowledged he did.     You were seeking

    24              damages - damages for your reputation - yes. That's




•
    25              because you believe that's an appropriate thing to

    26              do, isn't that right?      I think that's what they're

    27              trying to get.
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    1                    ATTY. MATTEI:     Nothing political.



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                         THE COURT:     I don't always agree with him, but

                    I'm agreeing with him now.

                         ATTY. PATTIS:     Can I order this piece of the

     5              record,   Judge?

     6                   ATTY. MATTEI:     I'm going to ask the questions

     7              about it, and we can argue about what door.

     8                   ATTY. PATTIS:     No,   I'm objecting.

     9                   THE COURT:     Be much better if you did it along

    10              those lines, so it doesn't open a door.

    11                   ATTY. MATTEI:     I don't want to talk about

    12              politics with this guy at all.       I'm not asking about

    13              his lawsuit and his claim that he was -



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                         ATTY. PATTIS:

                    do so at their peril.

                          ATTY. MATTEI:
                                           Okay, well.



                                           Fine.
                                                           Judge, I think they




    17                    (Sidebar conversation ends).

    18                    ATTY. MATTEI:    I'd offer it, your Honor.

    19                    ATTY. PATTIS:    Judge, may the jury be excused?

    20              I'd like to make a more complete record based on what

    21              I just heard -

    22                    ATTY. MATTEI:    No.

    23                    ATTY. PATTIS:    - at sidebar.

    24                    THE COURT:    So that is on the record.       So we




•
    25              have the record, and it will be admitted over

    26              objection.

    27      BY ATTY. MATTEI:
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    1          Q    So before we pull it up.       Let's just give the jury a



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            little background.        So you brought this lawsuit against an

            individual named Brianna Wu, correct?

               A    Yes.

     5         Q    An individual name Andrew Kimmel, yes?

     6         A    Yes.

     7         Q    And an entity called the Young Turks, LLC, correct?

     8         A    Yes.

     9         Q    And you brought that lawsuit in September of 2019.

    10      Correct?

    11         A    Yes.

    12         Q    Okay.   So about a year and a half after this lawsuit

    13      that you filed,    yes?



•   14

    15

    16
               A

               Q

               A
                    Yes.

                    And do you know who Brianna Wu is?

                    It was a - people online, so-called journalists

    17      saying -

    18         Q    I just asked you about Brianna Wu.        So I want to ask

    19      you -

    20         A    I don't remember who she is now.

    21         Q    You don't remember who she is.        Thank you.    Do you

    22      remember who Andrew Kimmel is?

    23         A    Not really.

    24         Q    Okay.   But you sued them.




•
    25         A    I mean - yes .

    26         Q    Okay.   And the Young Turks, LLC, am I correct that

    27      that's a media organization.
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    1          A      Yes .



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               Q      Okay.    And you brought this lawsuit because you

            claimed that these people had spread a lie about you, right?

                              ATTY. PATTIS:    Objection.   Motion in limine.

     5                Opens door -

     6         A      I -

     7                        THE COURT:     I'm going to allow it.

     8         A      I brought the lawsuit to get them to retrack and stop

     9      saying it.

    10         Q      But what you wanted -

    11         A      It wasn't money.

    12         Q      Well, we'll get to that.        But what you wanted was




•
    13      to - you used them because you believed they had spread a

    14      lie about you.        Correct?

    15         A      Yes.     It was directly connected in this case.

    16         Q      Correct.      So let's get into that.    So what happened

    17      was, back in 2019, you were required to produce some

    18      documents to the plaintiffs in this case.           Correct?

    19         A      And I did.

    20         Q      Okay.     And among the documents that you gave to your

    21      lawyers, and that your lawyers produced to us, were some

    22      emails.      Correct?

    23         A      Yes.

    24         Q      And -




•
    25         A      I think 200 and something thousand.

    26         Q      So, sir - really, you just have to answer my question

    27      yes or no.
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    1                       THE COURT:     All right,    so -



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                            ATTY. PATTIS:

                            THE COURT:
                                              Objection to the comments.

                                           So - excuse me.       So if anyone,

                    either of you need any help with any witness not

     5              answering the questions that you're asked.              Ask me to

     6              do it.     That's my job.        I like to do my job.     I'm not

     7              bad at my job.       I know you know what I'm going to

     8              say, Mr. Jones.

     9                      THE WITNESS:     Just yes or no.

    10                      THE COURT:     Yeah.     Yeah.   Or I don't know.

    11                      THE WITNESS:     Okay.

    12                      THE COURT:     Okay.     Just answer, sir.

    13                      ATTY. MATTEI:     And -



•   14

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    16              done.
                            THE COURT:

                            ATTY. MATTEI:

                              Thank you.
                                           No - no.

                                              I'm sorry.

                                             I'm sorry.
                                                        I'm still speaking.

                                                                I thought you were



    17                      THE COURT:     Mr. Jones,    just look at me when I

    18              talk to you.

    19                      THE WITNESS:     Yes.

    20                      THE COURT:     Just yes, no, or I don't know.

    21                      THE WITNESS:     I understand.        Yes.

    22                      THE COURT:     Thank you.

    23      BY ATTY. MATTEI:

    24          Q   Your lawyers, you gave your lawyers some emails to




•
    25      send to us, and they sent them.            Right?

    26          A   Yes.

    27          Q   And attached to some of those emails were images of
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     1      child pornography.     Correct?



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               A

               Q

               A
                    Yes.

                    And the FBI was alerted by this.

                    Yes.
                                                             Right?



     5         Q    And the FBI concluded that while those emails were in

     6      your organization and possession, they had been sent to your

     7      organization from outside.        Correct?

     8         A    Yes.

     9         Q    And that there wasn't any evidence that you or

    10      anybody in your organization had opened them.              Correct?

    11         A    Yes.

    12         Q    In other words, that although they had been sent to

    13      us, that had been done inadvertently.           Correct?


•   14

    15

    16
               A

               Q

            yes?
                    Yes.

                    And when you were advised of this you were upset,



    17         A    Yes.

    18         Q    And so you went on the air.          Correct?

    19         A    Yes.

    20         Q    And you blamed my office for having planted it.

    21      Correct?

    22         A    No.

    23         Q    Mr. Jones, do you want to see the video, sir?

    24         A    Go ahead and roll it.




•
    25         Q    Would you like me to?

    26         A    I mean if you want to.

    27         Q    You offered a million dollars to have my head on a
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    1      pipe -



•   2

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     4
                         ATTY. PATTIS:

                    mischaracterizes it.

                         ATTY. MATTEI:
                                           No.     Objection.

                                                May we approach?
                                                                That



                                           I don't think we need to.        That's

     5              a yes or no.

     6                    ATTY. PATTIS:    I do.

     7                    THE COURT:    So - come on.

     8                    (Sidebar conversation begins).

     9                    ATTY. PATTIS:    He didn't.     I was sitting right

    10              there.     He was never charged with a crime.

    11                    ATTY. MATTEI:    The judge has seen the video.

    12                    ATTY. PATTIS:    You've seen the video and he said

    13              he talked about who his suspicions about Mr. Mattei,


•   14

    15

    16
                    but he never said he - he said he'd offer a million

                    dollars for the person who did it.

                    about him.
                                                                He had suspicions

                                   To suggest as an officer of the court

    17              otherwise - Excuse me.        To suggest otherwise as an

    18              officer of the court, I'm asking for a curative

    19              instruction and admonishment of counsel.

    20                    ATTY. MATTEI:     I    (Inaudible) with you.

    21                    ATTY. PATTIS:     I was sitting there.       I don't

    22              need to.

    23                    THE COURT:    No - can you ask - so I'm not going

    24              to give a curative instruction.         I'm not going to




•
    25              admonish.     Can you ask it in a different way?

    26                    ATTY. MATTEI:     Well, he hasn't answered it.

    27                    THE COURT:    Right.     So it was objected to.
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     1                     ATTY. MATTEI:   So he can say no again.



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                    way.
                           THE COURT:



                           ATTY. MATTEI:
                                        So, can you ask it in a different



                                           Your Honor, he can say no if he

     5              wants.    Then I can impeach him.

     6                     THE COURT:   Can you ask it in a different way.

     7                     ATTY. MATTEI:    I'll ask it in a different way.

     8                     THE COURT:   So then I'll sustain the objection,

     9              and you can try to ask it a different way.

    10                     ATTY. MATTEI:   Thank you.

    11                     (Sidebar conversation ends).

    12                     THE COURT:   And attorney, we're due for a break

    13              anytime between now and the next ten minutes.          I'm


•   14

    15

    16
                    going to leave it up you as to when is a good point.

                           ATTY. MATTEI:

            BY ATTY. MATTEI:
                                           Great.    Yup.   Thank you.    Yup.



    17         Q    So Mr. Jones, when you found out about this, you went

    18      on your show,    right?

    19         A    Yes.

    20         Q    And you held my picture up to your audience, yes?

    21         A    You have to refresh my memory.

    22         Q    Oh, Mr. Jones you know you did that, don't you?

    23                     ATTY. PATTIS:   Objection.

    24                     THE COURT:   Overruled.




•
    25         Q    You know you did that?

    26         A    No.    I believe you conflated your picture being on

    27      the pile of stuff, and me saying there was a reward to find
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 19 of 57      17


    1      who did it.        So how was there reward if we don't -



•   2

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                             THE COURT:     All right.

                     question was you held my picture up.

                     sure I got your answer.
                                                         So Mr. Jones, the

                                                                  And I'm not

                                                    Was it yes, no or I don't

     5               know.

     6                       ATTY. PATTIS:     Or I don't recall, Judge -

     7         A     I don't recall.

     8                       ATTY. PATTIS:     - I think is what he said.

     9         A     I don't recall.

    10         Q     Do you recall pounding on my picture?         Do you recall

    11      that?

    12         A     I pound my desk all the time.         There was a pile of




•
    13     papers.      I remember that.

    14         Q     Okay.     All right.     And the reason I'm doing this is

    15      because when you went on the air and did all that, people

    16      found out that there was this issue about your company

    17      having sent child pornography in my office.           Correct?

    18      That's how people found out about it.

    19         A     Well, you're not going to be clear that someone sent

    20      it to me?

    21         Q     No - no - no.        I think we've established that -

    22         A     No, but you're getting it set up for clips though.             I

    23      know what you're doing.

    24         Q     Mr. Jones, really.        I think it's established.     And




•
    25      nobody contests that you had nothing to do with that child

    26      pornography.       Okay.   Let's make that clear.

    27         A     That you guys found it.
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 20 of 57 . 18


    1          Q      Correct.    We found it because it was sent to us,



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           right?

               A      Cause it was hidden - hidden embedded and then you

           guys found it.        Really good job.

     5                       THE COURT:     So, Mr. Jones -

     6                       THE WITNESS:     I know I'm not supposed to -

     7                sorry .

     8                   .   THE COURT:     No, no - look at me.

     9                No commentary -

    10                       THE WITNESS:     I understand.

    11                       THE COURT:     Answer the question that's asked,

    12                sir.

    13                       THE WITNESS:     Yes, ma'am.



•   14

    15

    16
            BY ATTY. MATTEI:

               Q
                             THE COURT:     Thank you.



                      But when you went on the air, that's how it became

    17      public that there was this whole issue that child

    18      pornography had been sent from your company to my law

    19      office.     Correct?

    20                       ATTY. PATTIS:     Objection, Judge.   That calls for

    21                speculation.    That - well maybe one avenue -

    22                       THE COURT:     Overruled.

    23         A      I don't remember.

    24         Q      All right.     But in any event, once it became public,




•
    25      you claimed that Brianna Wu and Andrew Kimmel and the Young

    26      Turks, had lied about you having sent it.          Correct?

    27         A      They said more than that if I remember.
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 21 of 57       19


     1         Q     Right.     And you allege that in your complaint.



•    2

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     4
            Right?

               A

               Q
                     Yes.

                     And that was deeply harmful to you, that they have

     5      lied about the fact that you had sent child pornography.

     6      Right?

     7         A     People still say it all the time everywhere.

     8         Q     It's a terrible thing to be accused of, correct?

     9         A     Yeah.     But they quit saying it,    so I dropped the

    10      suit.

    11         Q     And they were spreading to all over the internet this

    12      lie about you, that you had sent child pornography.

    13      Correct?



•   14

    15

    16
               A

               Q

               A
                     Purposely.     That was the issue.

                     And that's why you brought this lawsuit, yes?

                     Yeah.

    17         Q     Okay.     Your Honor, this would be a fine time for a

    18      break.

    19                       THE COURT:    All righty.   So we will take our

    20               morning recess now, 15 minutes.        I know you're

    21               probably saying to yourself why do we need another

    22               recess?     We just got up and down.     But our staff has

    23               been here, and we've been working the whole entire

    24               time.     And so I'm required to give them a break.




•
    25                       So you'll continue to obey the rules of juror

    26               conduct.     Ron,    15 minutes puts us at what time?      I

    27               turned my Apple watch off so much that I can't even
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 22 of 57      20


     1              find the clock.



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                            THE CLERK:     12:07.

                            THE COURT: Let's say 12:10, okay.

                    a recess.
                                                                      So we'll take



     5                      (Jury panel exits the courtroom).

     6                      (Recess.     Resumed).

     7                      THE COURT:     Good afternoon, everyone.      Please be

     8              seated.     All right.     We're ready for our panel.       Mr.

     9              Jones, you want to come up here, sir.

    10                      I'm going to need a minute once he brings the

    11              panel in, because I left my notes on my desk.

    12                      ATTY.   PATTIS:   You're welcome to mine,     Judge.

    13                      (Jury panel enters the courtroom).



•   14

    15

    16
                            THE COURT:     All right.

                    entire panel has returned.

                            ATTY.   PATTIS:   I do.
                                                          Counsel stipulate the




    17                      THE COURT:     Please be seated.      Just give me one

    18              moment.     Just bear with me for a moment.         Mr.

    19              Ferraro's getting my notes that I left in my

    20              chambers.       Thank you, Mr. Ferraro.       Thank you.

    21              Whenever you're ready, Attorney Mattei.

    22                      ATTY. MATTEI:     Thank you.

    23      BY MR. MATTEI:

    24         Q    Mr. Jones, before the break we were talking about




•
    25      this lawsuit that you brought,           right?   You remember that?

    26         A    Yes.

    27         Q    Okay.     And again, this lawsuit was brought against a
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 23 of 57    21


    1      Mrs. Wu, and Mr. Kimmel and the Young Turks, LLC,          for them



•   2

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            stating online that you had sent child pornography to the

            plaintiffs in this case, correct?

               A    They said more than that.

     5         Q    Okay.     But was that the gist of it?

     6         A    No.     They -

     7         Q    Tell me what you sued them for?

     8         A    I mean they said that I intentionally did it, and

     9      that I was horrible.       They said a bunch of stuff.      It was a

    10      lot of different program shows, and we - you know -

    11         Q    Okay.     Okay.    But the gist of the lie here was that

    12      you had sent child pornography to the plaintiffs in this

    13      case.   Yes .



•   14

    15

    16
               A    Yes.     Not that it had been sent to me unopened, then

            discovered by you and discovery sent to you.

               Q    They left that part out.       Correct?

    17         A    I don't remember now.

    18         Q    Okay.     But that would have been important context for

    19      them to provide an accurate account of what happened here.

    20      Correct?

    21         A    Yes.

    22         Q    Okay.     And they didn't do that.

    23         A    Yes.

    24         Q    Right.     And as a result of those statements, you




•
    25      claim that this had resulted in viral spread of this lie

    26      about you.      Correct?

    27         A    Yes.
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 24 of 57    22   .


     1         Q    The Young Turks had a Twitter account, they posted it



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     4
            to that.

               A
                        Correct?

                    They have a popular television show that's also on

            television, and the issue was I was -

     5         Q    I   just asked you about the Twitter account, sir.          So

     6      let's just go one step at a time.

     7         A    Okay.

     8         Q    I mean, the concern you had was that this lie about

     9      you was spreading online.      Correct?

    10         A    Yes.

    11         Q    In a viral way,    right?

    12         A    Yes.




•
    13         Q    And what you meant by that was, that it was taking

    14      off online.     Correct?

    15         A    Yes.

    16         Q    And reaching a wide audience, yes?

    17         A    Yes.

    18         Q    And the more people who come into contact with this

    19      as you called it, one of the worse smears that can be spread

    20      about anyone, the more people that came in contact with

    21      that,   the more damage was being done to you.        Correct?

    22         A     I mean,   I think that's fair to say.

    23         Q    And because the more people who see this, the more

    24      people who might believe it, right?




•
    25         A    Well, it's - I don't know they're going to believe

    26      it, but it's -

    27          Q    That's the concern, right?
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 25 of 57     23


    1          A    Yes .



•   2

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     4
               Q    Because if people believe, especially a large number

            of people who encounter this line on the internet, that you

            possess child pornography, that would be a horrible,

     5      horrible stain on your reputation as an individual.

     6      Correct?

     7         A    I think it's 20 years in prison too.

     8         Q    Correct.     They accused you of a felony, didn't they?

     9         A    Yes.

    10         Q    And not only just any felony,         I mean - assault is a

    11      felony, but this is a particular kind of felony, possessing

    12      child pornography.      Right?

    13              And distributing it.


•
               A

    14         Q    And distributing it.      And it's the type of allegation

    15      that would provoke a lot of anger in people who - if they

    16      were to believe that about you.        Right?

    17         A    Yes.

    18         Q    And it might provoke people to even want to confront

    19      you about it.      Right?

    20                      ATTY. PATTIS:    Objection.     Calls for speculation

    21              what might occur.

    22                      THE COURT:   Sustained.

    23         Q    I think you testified earlier that you have come

    24      across people who have accused you of this, right?




•
    25         A    It's still ongoing.

    26         Q    Right.     And if that happens, obviously there are

    27      certain measures you need to take to try and protect
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 26 of 57
                                                                                 24


    1       yourself from people who may need to do you harm as a result



•   2

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     4
            of this.

               A
                        Right?

                     And when they stopped saying it, we dropped the suit.

            We just wanted them to stop saying it.

     5         Q     But I'm just saying, when people believe something

     6      horrible like this, that you're a child pornographer, that

     7      could lead to people who believe it, to hate you.           Right?

     8                       ATTY.   PATTIS:   Objection.   This calls for

     9               speculation.

    10                       THE COURT:    Overruled.

    11         A     I mean,    I think that's fair to say.

    12         Q     And if they really believe it and they really hated




•
    13      you, you might have a few people come after you.           Right?

    14                       ATTY.   PATTIS:   Objection.   Speculative now.

    15                       THE COURT:     Overruled.

    16         A     Well, like the police.

    17         Q     That's one, right?        But what about people who are

    18      just out there and unhinged, thinking Alex Jones, the child

    19      pornographer.       The next time I see him, boy.      That's a

    20      concern, right?          It's a reasonable concern.

    21         A     And they name my name.        I didn't name most of these

    22      people's names.

    23         Q     Yeah.     I'm not asking you about that.

    24         A     Okay.




•
    25         Q     I know you might kind of see where I'm going with

    26      this -

    27         A     Yeah,    I did.
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 27 of 57    25 .


    1                       ATTY.   PATTIS:   Objection.    Move to strike.



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               Q
                            THE COURT:    Let's move on to the next question.

                    And as a result of that concern, you yourself have

            taken measures to protect you and your family.            Correct?

     5         A    We had to have more security since the Sandy Hook

     6      thing actually than that.

     7         Q    But you got security guards in the courtroom right

     8      now, don't you?

     9         A    Yeah.

    10         Q    These two gentlemen over here in the black jackets,

    11      those are your - that's part of your security team?

    12         A    Yes.

    13         Q    They follow you everywhere you go, right?



•   14

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    16
               A

            this.

               Q
                    Yes.     Not due to the fake child porn, but due to



                    You - well, you had a security team for a long time,

    17      haven't you?

    18         A    That's - but the main - I mean you're asking me -

    19         Q    I'm just asking you -

    20                      ATTY. PATTIS:     Objection.     Motion in limine.

    21                      ATTY. MATTEI:     Have you had a security team for

    22              a long time?

    23                      ATTY. PATTIS:     Doors.

    24                      THE COURT:    It's a yes or no whether he's had a




•
    25              security team for a long time.

    26                      ATTY. PATTIS:     Why?     Objection.

    27         A    For years since the Sandy Hook.
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 28 of 57      26

     1         Q    And this gentleman here on the right, that's Tim



•    2

     3

     4
            Enlow, is that right?

               A

               Q
                    Yes.

                    Okay.     And he's your head of security?

     5         A    Yes.

     6         Q    And they walk around with earpieces, right?              So they

     7      could communicate with one another?

     8         A    I don't know they have those.

     9         Q    You flew up here on a private jet, is that right?

    10         A    A charter plane.

    11         Q    Charter plane.       Okay.   And so you - one of the

    12      reasons you do that it because you travel commercial, you

    13      don't know who you run into.         Right?


•   14

    15

    16
               A

               Q

               A
                    Since this case, yes.

                    Okay.

                    Since the Texas cases it's -

    17         Q    Mr. Jones, do you really want to

    18         A    Bad.

    19         Q    It's not a big point here, but you are under oath,

    20      and so I just want to ask you -

    21                      ATTY. PATTIS:    Objection, Judge, again.

    22                      THE COURT:    So let's just get the next question.

    23         Q    Is it your testimony -

    24                      ATTY. PATTIS:    Objection.      Can we have a




•
    25              curative instruction?

    26                      THE COURT:   All right.       Just one second.

    27              Sidebar, please?
     Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 29 of 57        27


     1                  (Sidebar conversation begins).



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     4
                        THE COURT:     Just one second.

                interrupting, so what do you suggest?

                      ATTY. PATTIS:       Was I -
                                                              I don't want the




     5                  THE COURT:     You're talking, you're talking,

     6          you're talking.        I can't hear what you're saying.

     7                ATTY. MATTEI:       I know.    Attorney Pattis doesn't

     8          like when I -

     9                  THE COURT:     Can we just - can we stop it.

    10                  ATTY. PATTIS:     I objected to his instructing

    11          counsel, which is the role of the Court -

    12                  THE COURT:     All right.    So if you have an issue,




•
    13          just - I don't want to interject myself more than I

    14          have to.     But if you're not,       just ask me and I will -

    15                  ATTY. MATTEI:     Understood.     Understood.    Yup.

    16                  (Sidebar conversation ends).

    17                  THE COURT:     So just as a gentle reminder, Mr.

    18          Jones

    19                  THE WITNESS:     Yes, ma'am.

    20                  THE COURT:     Just try to listen to the questions

    21          as asked.     If there's an objection, we'll stop.          And

    22          then -

    23                  THE WITNESS:     Sorry.

    24                  THE COURT:     No - no.     That's all right.    Again,




•   25          yes, or no or I don't know.           Okay.

    26   BY ATTY. MATTEI:

    27      Q   Is it your sworn testimony that you never chartered a
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 30 of 57


    1      private jet before this lawsuit,          sir?



•   2

     3

     4
               A

               Q
                    Yes.

                    Never before 2018 had you chartered a private jet?

           Are you sure you want to say that?

     5         A    Yes.

     6         Q    All right.     So in the financials that you turned over

     7      to us, we won't see any expense prior to 2018 for any

     8      private charter air travel.          Correct?

     9         A    You said a jet.      I mean,    I think we rented Cessna's

    10      for aerial news shows the border.          One time me and my wife

    11      and children were in Canada.          We rented a sea plane that

    12      flew us for a couple hours up to a place to eat.            But other

            than that,     I've never.   Not until this.


•
    13

    14         Q    So your testimony is that prior to this lawsuit, you

    15      actually did fly on a charter plane.             Correct?

    16         A    No.     You said a jet.

    17         Q    I'm sorry.     If I was confusing you with the word

    18      jet -

    19         A    Would a hot air balloon count?            I have also rented

    20      those a few times in my life.

    21                      THE COURT:   Okay.     Let's -

    22         Q    No.     That's not what I was referring to.         But -

    23         A    I have rented -

    24                      THE COURT:   So,   just wait for a question.




•
    25              There's no question.

    26         Q    Just see if you can answer this yes or no, sir.

    27      Prior to this lawsuit, you had paid for a chartered private
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 31 of 57
                                                                                       29


     1      air travel.      Correct?



•    2

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     4
               A

               Q
                    Yes.     Not jets.

                    And in addition to this security team that you have

            and your private air travel arrangements.             I take it that

     5      you have security systems at your homes, correct?

     6         A    Sure.

     7         Q    And obviously at your office you have pretty

     8      extensive security at the Infowars offices.

     9         A    Yes.

    10         Q    So with this lawsuit, why don't we bring up - bring

    11      up paragraph 7 on page 3.

    12                      ATTY. PATTIS:      Has it been admitted, Judge?        I




•
    13              don't remember.

    14                      ATTY.   MATTEI:     I did offer it.     I don't that

    15              there was a ruling.         I think you ruled at the

    16              sidebar.

    17                      THE COURT:   Ron, did we -

    18                      THE CLERK:   Which number was this, your Honor?

    19                      ATTY. PATTIS:      424.

    20                      THE COURT:   424.

    21                      THE CLERK:   424?

    22                      ATTY. MATTEI:      34.

    23                      THE COURT:   And it was objected to?

    24                      THE CLERK:   34.




•   25                      ATTY. MATTEI:      434.

    26                      THE CLERK:   Yes.        434 was made a full exhibit.

    27                      ATTY. PATTIS:      Thank you.
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 32 of 57    30


    1                      THE CLERK:   About 45 minutes ago.



•   2

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     4
           BY ATTY. MATTEI:

               Q
                           THE COURT:   Okay.



                    So let's pull up paragraph 7, please?        Okay.    And

     5     this is a complaint that one of your lawyers, Robert Barnes

     6     drafted on your behalf.       Correct?

     7         A    Yes.

     8         Q    It was filed in a lawsuit to commence this lawsuit

     9      against these people.

    10         A    Yes.

    11         Q    And one of the claims you made was that on June 17,

    12      2019 at 9:44 p.m., the Young Turks, by and through Saint

    13      Weigert, that's somebody associated with that group, yes?



•   14

    15

    16
            Saint Weigert is a person associated with the Young Turks.

               A

               Q
                    Yes.

                    Published on its Twitter account, quote, Alex Jones

    17      sent child porn to Sandy Hook parents.         See exhibit one.

    18      The Young Turks Twitter account.        And that's at the same

    19      headline made the Young Turks video page, where it still

    20      stands today.     And so there was a tweet, right?       And there

    21      was a headline associated on their video page, according to

    22      this paragraph.      Correct?

    23         A    I believe so.

    24         Q    All right.     And if you go further down, you see here




•
    25      that they hold themselves out as, quote, serious journalists

    26      with millions of followers across multiple social media

    27      platforms, and the biggest media network on YouTube that is
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 33 of 57    31 '


    1      completely monetized by YouTube, etcetera, etcetera.



•   2

     3

     4
           Correct?

               A

               Q
                     Yes.

                     And the point of that is to show that these people

     5     who you claim lied about you had a significant platform that

     6     could result in significant harm to you.          Yes?

     7         A     Yes.     And we weren't allowed to respond back because

     8     we were on that platform.

     9         Q     Okay.

    10                       ATTY. MATTEI:   So I move to strike, your Honor.

    11                       THE COURT:   Sustained.

    12         Q     So the - you then go down further and let's go to

    13      paragraph 12.       One of the things that you were bringing in



•   14

    15

    16
            this case were - or was something called defamation per se.

            Right?    And a claim for defamation per se, the words are so

            obviously hurtful, that they require no proof that they

    17      caused injury, in order for them to be actionable.           Accusing

    18      a professional of deliberately sending child pornography to

    19      opposing attorneys.       A serious felony.    Raises no questions

    20      as to its negative effect on your professional reputation.

    21      Right?

    22         A     Yes, they said my name.

    23         Q     Right.     The idea is that this type of allegation is

    24      so hurtful, that just the fact that it was made shows that




•
    25      there was damage done.        Right?

    26         A     I'm not a lawyer, but I know the law.          If you say

    27      their name too - you have to say that person's name.
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 34 of 57        32


     1         Q    Yeah.     You're not a lawyer, are you?



•    2

     3

     4
               A

               Q

               A
                    But I -

                    Right.

                    No.
                               So you're not, right.



     5         Q    Okay.     And when you did this, you attacked as proof -

     6      oh, let's go to page 6.         Yeah, page 6.     And at the end of

     7      it, after you've made these allegations, you said, wherefore

     8      plaintiff respectfully prays for judgment against the

     9      defendants in a sum to be determined by a jury.              Right?     Did

    10      I read that correctly?

    11         A    Yes.

    12         Q    And as proof of the harm that you suffered as a




•
    13      result of this, you included an exhibit.            And let's go to

    14      Exhibit 8.      I'm sorry, page 8.        This is Exhibit 1.    Thank

    15      you.   Appreciate it.

    16                      THE CLERK:   And I'm sorry to interrupt counsel,

    17              but you're referring to exhibits that's part of this

    18              exhibit?

    19                      ATTY. MATTEI:     Yes.     Thank you.    There was an

    20              Exhibit 1 attached to the complaint.             Thank you.

    21                      ATTY. PATTIS:     Judge, can I come around to see

    22              the board here?

    23                      THE COURT:   Sure.

    24                      ATTY. MATTEI:     Yeah.     Thank you.




•
    25                      THE COURT:   Let Mr. Pattis -

    26                      ATTY. MATTEI:     Yeah,    I'm not going to use it

    27              just yet.
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 35 of 57    33


    1                       THE COURT:   Well let him just get situated so he



•   2

     3

     4         Q
                    can take his notes.

           BY ATTY. MATTEI:

                    And as you see - thank you.       As you see here, this is

     5     the tweet that was so concerning to you, right?           And there's

     6     a video associated with it.        Obviously not here on the -

     7         A    No, it was what they said in the video, where they

     8      said I was going to jail, and I did it on purpose and a

     9     bunch of incredible stuff.

    10                      ATTY. MATTEI:   I'll move to strike that, your

    11              Honor.

    12                      THE COURT:   Sustained.

                    What you included in support of your lawsuit was


•
    13         Q

    14      this.   Yes?

    15         A    Yes.     An image of the videos, you can see the video.

    16         Q    And the headline was Alex Jones sent child porn to

    17      Sandy Hook parents.      Correct?

    18         A    Yes.

    19         Q    Now, as a technical matter, your agents did send

    20      child pornography to the Sandy Hook families, as a technical

    21      matter, correct?

    22         A    Yes.

    23         Q    Okay.     And down here if you look at the bottom.          How

    24      many retweets did this tweet have?        You might have it in




•
    25      front of you, sir, if that's easier.

    26         A    Twenty.

    27         Q    Twenty.     And how many likes?
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 36 of 57    34

     1         A     Thirty-seven.



•    2

     3

     4
               Q     Okay.

            comments, yes?

               A
                               And then over here, this 132, those are



                     I don't know.

     5         Q     You don't remember that?        Okay.

     6         A     The issues the video, not a link -

     7         Q     I didn't ask you any questions, sir.

     8                       THE COURT:   Please -

     9         Q     All right. We can take that down.        So there were 20

    10      retweets and 37 likes.        Right?

    11         A     Yes.

    12         Q     Okay.     So we're going to put TWT, that's Young Turks,




•
    13      right?

    14         A     Yes.

    15         Q     So there were 20 retweets -

    16                       THE COURT:   Do you need Mr. Jones to see that

    17               board?     Because I'm not sure he can.    Can you see

    18               that board?

    19         A     I can see it.

    20                       THE COURT:   Oh.   Never mind.

    21         A     A little bit

    22         Q     You can see it?

    23         A     Little bit.

    24         Q     And 37 likes, right?




•
    25         A     Yes .

    26         Q     Now you said you've been watching some of this trial.

    27      Right?
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 37 of 57   35

     1         A    Yes.



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     4
               Q

            week.

               A
                    You know that Clint Watts testified here earlier this

                    Correct?

                    Yes.

     5         Q    And did you hear his testimony that at a minimum,

     6      your lies about Sandy Hook reached 550 million,          just on

     7      social media alone.        Did you recall that testimony?     That's

     8      a yes or no.

     9         A    Yes.    Yes,    I recall.

    10         Q    You recall it.

    11         A    Preposterous.

    12                     ATTY. MATTEI:        Move to strike, your Honor.

    13                     THE COURT:     Stricken.


•   14

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    16         A
                           So, sir,

                    the question.

                    Oh, yes.
                                       just remember no comments,



                                   Thank you.
                                                                     just answer




    17                     THE COURT:     Thank you.

    18         Q    I'm done with this.          Now Mr. Jones, the lie you

    19      spread for years and years, was that the families behind me

    20      were actors.     Correct?

    21         A    I can't answer -

    22         Q    That's a yes or no.

    23                     ATTY. PATTIS:        No.   Objection.

    24         A    It's too complex to - sorry.




•
    25                     ATTY. PATTIS:        Motion in limine.

    26                     THE COURT:     Can I have a sidebar on that?

    27                     (Sidebar conversation begins).
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 38 of 57        36


    1                       THE COURT:        The lies that you spread -



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                            ATTY.   PATTIS:      He doesn't think they were lies.

                    And the Court has made that finding.           And so this is

                    the heart of that Fifth Amendment issue I alerted the

     5              Court to.       If he agrees with the characterization,

     6              it's a lie and he's testifying falsely.            If he

     7              testifies truthfully, he's in contempt of a prior

     8              ruling.

     9                      THE COURT:        Okay.   So -

    10                      ATTY. MATTEI:        I'll do something a little

    11              different.

    12                      THE COURT:        That's a good point though.

    13                      ATTY. MATTEI:        I mean look, he could take the



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    16
                    Fifth, so -

                            ATTY.    PATTIS:     If we're going to get to that,

                    I'd rather do it outside the jury's presence, because

    17              my claim -

    18                      THE COURT:        We have to deal with it now?     Can

    19              you -

    20                      ATTY. MATTEI:        I'll try something.

    21                      THE COURT:        Okay.

    22                      (Sidebar conversation ends).

    23                      THE COURT:        So just wait for the next question,

    24              Mr. Jones.        Okay.




•
    25         Q    Mr. - I'm sorry, your Honor.

    26                      THE COURT:        Well, let them -

    27         Q    Mr. Jones,       for years and years and years,     you called
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 39 of 57    37


     1      these families actors, correct?



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               A

               Q

               A
                    No.

                    That's not correct?

                    No.

     5         Q    Do you remember in your deposition sir, it's true

     6      about Robbie Parker, right?

     7         A    Yes.

     8         Q    And you called Robbie Parker an actor many times,

     9      didn't you?

    10         A    No, I said it looked like he was acting.

    11         Q    You said it looked like he was acting?

    12         A    The internet is a huge thing -

                    Mr. Jones, is your testimony


•
    13         Q

    14                     ATTY. PATTIS:    Objection.    My client wasn't

    15              permitted to finish his answer.

    16                     THE COURT:   All right.

    17         A    These are not yes or -

    18                     THE COURT:   No - no - no, Mr. Jones.       I'm sorry

    19              because now I've lost the question.         So can you ask

    20              the question again?

    21                     ATTY. MATTEI:    You know what?    Let's do it this

    22              way.

    23         Q    Mr. Jones, would you agree with me that if somebody

    24      were to lie about a group of people and call them actors,




•
    25      and having faked their children's death, that would be a

    26      horrible thing to say about somebody.

    27                     ATTY. PATTIS:    Improper form -
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 40 of 57       38


     1         A    I did not call them liars -



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               Q    That's a yes or no -



                    form.
                            ATTY. PATTIS:     - as to the vouching.

                              It's a contrarian voucher - nobody cares
                                                                         Improper



     5              whether he agrees with Mr. Mattie or not.

     6                      THE COURT:     All right.   Sustained.

     7         Q    Mr. Jones, if someone were to falsely claim that a

     8      group of families who have lost loved ones were actors.             And

     9      had faked the deaths of their loved ones.          That would be a

    10      horrible thing to say.         Correct?

    11         A    In the context it could be.         Yes.

    12         Q    It could be.        And if somebody were to spread that

    13


•
            claim to millions and millions and millions of people, one

    14      would expect those families who have been falsely accused to

    15      be damaged.      Correct?

    16                      ATTY. PATTIS:     Objection.   Speculation, Judge.

    17                      THE COURT:     Overruled.

    18         Q    Yes or no, sir.

    19         A    I cannot answer this question truthfully without

    20      violating the Courts order.

    21         Q    Well, why don't we have an invocation then?

    22         A    What's an invocation?

    23                      ATTY. PATTIS:     Oh, no way Judge.      There's - we -

    24              this is improper.




•
    25                      THE COURT:     All right.

    26                      ATTY. PATTIS:     I'm going to object.

    27                      THE COURT:     So why don't I excuse the jury for a
     Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 41 of 57    39


     1          minute.     This shouldn't be too, too long.



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                        (Jury panel exits the courtroom).

                        THE COURT:

                        ATTY.
                                      Okay.

                                PATTIS:
                                               So the question again?

                                          Well, Judge before we do.     We had

     5          an agreement that if there was going to be any Fifth

     6          Amendment claims here, it would be done outside the

     7          presence of the jury.         And then we're asking for an

     8          invocation in its presence -

     9                  THE COURT:    When you say we had an agreement,

    10          you, and Attorney Mattei?

    11                  ATTY.   PATTIS:   Attorney Mattei.

    12                  ATTY. MATTEI:     Well, no Attorney Pattis

    13          requested that.       I wasn't prepared for him to invoke


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    16
                on that question, Judge.

                        THE COURT:

                that agreement.
                                      Well, I don't know,

                                      But let's -
                                                             I wasn't part of



    17                  ATTY. PATTIS:     I'd ask for an order that if

    18          there's going to be any further effort to evoke the

    19          Fifth Amendment - or to elicit a Fifth Amendment

    20          response, it be done outside the presence of the

    21          jury.

    22                  ATTY. MATTEI:     That's fine.   That's not what I

    23          was doing.       I think the question will show that

    24          there's no valid assertion there.




•
    25                  THE COURT:    All right.    Well, why don't you -

    26          can you give me the question again or do you want me

    27          to play it back?
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 42 of 57     40


    1                     ATTY. PATTIS:      Yes.



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                          ATTY. MATTEI:

                          THE COURT:

            (Playback begins)
                                             Why don't we play it back.

                                         Okay.      Take your time madam monitor.



     5         Q    -   were actors.     And had faked the deaths of their

     6      loved ones.     That would be a horrible thing to say.

     7      Correct?

     8         A    In the context it could be.          Yes.

     9         Q    It could be.       And i f somebody were to spread that

    10      claim to millions and millions and millions of people, one

    11      would expect those families who have been falsely accused to

    12      be damaged.     Correct?

    13                     ATTY. PATTIS:     Objection.     Speculation, Judge.



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    16
               Q

               A
                           THE COURT:

                    Yes or no, sir.
                                          Overruled.



                    I cannot answer this question truthfully without

    17      violating the Courts order.

    18         Q    Well, why don't we have an invocation then?

    19         A    What's an invocation?

    20                     ATTY. PATTIS:     Oh, no way Judge.     There's - we -

    21              this is improper.

    22                     THE COURT:     All right.

    23      (Playback ends)

    24                     THE COURT:     We could go back.     Just before




•
    25              anybody else - Okay.

    26                     ATTY. PATTIS:     So we alerted the Court earlier

    27              on that there may be an unusual Fifth Amendment issue
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 43 of 57        41


     1              in this case arising from the law of the case.             Mr.



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                    Jones has suffered a disciplinary default in this

                    case resulting in his inability to contest liability.

                    The Court has established during the law of the case

     5              that -

     6                     THE COURT:     Could we just back up.     So the

     7              question wasn't about Mr. Jones specifically.

     8              Although maybe it was getting there.          The question

     9              was,   if someone spread that claim to millions and

    10              millions of people, one would expect people to be

    11              damaged.       There's no -

    12                     ATTY.    PATTIS:    No.   You're missing a predicate




•
    13              in there.       Falsely.    If they falsely spread this

    14              information.       This is -

    15                     THE COURT:     Right.     But this is not talking

    16              about Mr. Jones or Free Speech Systems.          This was a

    17              hypothetical.

    18                     ATTY.    PATTIS:    He's not an expert and he can't

    19              be questioned as an expert.          He's here as a fact

    20              witness.       And this is an attempt to sidestep the

    21              ruling,    and once again have a motion in limine be

    22              used as a sword rather than a shield.

    23                     We didn't make motions in limine to limit this,

    24              the plaintiffs did.




•
    25                     THE COURT:     Right.

    26                     ATTY.    PATTIS:    The contention here is that Mr.

    27              Jones - that the law of the case is that the Court
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 44 of 57    42


    1               has concluded that these statements were false, not



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                    because they were litigation, but because of failure

                    to comply with discovery.        We can't talk about that.

                    The plaintiffs have earned the right to call him a

     5              liar in open court.      Whether we agree or not, that's

     6              the law of the case.      What they've not done is, earn

     7              the right to put him in a position where he either

     8              disagrees with their characterization of him, thus

     9              running afoul of a prior ruling of the Court.          Or

    10              agreed with them, thus committing perjury.

    11                     We'd go further and say that if we get to a

    12              point where in invocation is necessary, they're not




•
    13              entitled to adverse inference, because that is giving

    14              undue weight to a disciplinary default.

    15                     THE COURT:    So Attorney Pattis, what would be

    16              wrong if his answer, his true answer, how would it

    17              violate the order?       As if he says he denies the

    18              extent of the damage.

    19                     ATTY. PATTIS:     I don't know that that's

    20              responsive to the question candidly.

    21                     ATTY. MATTEI:     Yeah.   So, your Honor,   I think

    22              what's happening here is.        We had a sidebar to avoid

    23              a proper assertion.       I said I'll do it a different

    24              way.    And so I came back here, instead of telling Mr.




•
    25              Jones that he had lied,      I said if one did.     That

    26              would cause damage -

    27                     ATTY.   PATTIS:   Well, who cares.
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 45 of 57     43


    1                       THE COURT:    Well I think - well, so -



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                            ATTY. PATTIS:

                            THE COURT:
                                             That's - yeah -

                                          I think it's got to be asked in a

                    way - and I don't want to tell you how to ask it.

     5              But -

     6                      ATTY. MATTEI:    Your Honor, this is -

     7                      THE COURT:    No - no - let me just -

     8                      ATTY. MATTEI:     I'm sorry.

     9                      THE COURT:    - get it out.    Where we're not

    10              putting Mr. Jones in a pickle.         But where the jury

    11              understands that the issue has been decided, which

    12              they've been told many, many times now.          So can you

    13              think of a way to do it along those lines?          So here


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    16
                    the Court has already determined that liability is

                    not an issue.        The jury is just determining damages

                    and so what's the question for Mr. Jones?

    17                      ATTY. MATTEI:     Your Honor, there is no - first

    18              of all, he's the defendant.        This is impeachment on

    19              credibility grounds.

    20                      THE COURT:     But I'm just asking what the

    21              question is though.

    22                      ATTY. MATTEI:     The question is, rather than ask

    23              him directly, where he now thinks a truthful answer

    24              would somehow incriminate himself.         I've asked him




•
    25              whether or not one would expect that if one were to

    26              do these things, it would cause harm.

    27                      Now, Attorney Pattis is still free to argue at
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 46 of 57   44


     1              any point that that's - that the harm caused here



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                    wasn't what the plaintiffs allege.

                    apparently claiming.

                    that question,
                                                               That's what he's

                                              But Mr. Jones's response to

                                       if the answer is yes, one would expect

     5              that type of harm.      That doesn't violate the Courts

     6              orders and it's not false.

     7                    ATTY. PATTIS:     No, but -

     8                    ATTY. MATTEI:     If the answer is no, if the

     9              answer is no, one wouldn't expect that.         That doesn't

    10              violate the Courts orders.        And it's not false.

    11              Right?   So either one.       He can testify truthfully

    12              without violating the Courts order and putting

    13              himself in contempt -


•   14

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    16
                          THE COURT:

                          ATTY. MATTEI:

                          THE COURT:
                                         Or I don't know.

                                            Or I don't know.

                                         All right.     So how does -

    17                    ATTY. PATTIS:     The problem with that Judge, is

    18              it's argumentative in tone.         He's not an expert, and

    19              so what one does isn't what we're here to show.

    20              We're here to show what he did.

    21                    THE COURT:     Right.    But that's a different -

    22                    ATTY. PATTIS:     And the purpose

    23                    THE COURT:     Attorney Pattis -

    24                    ATTY. PATTIS:     - is being offered to get into




•
    25              his state of mind.

    26                    THE COURT:     Attorney Pattis - Attorney Pattis -

    27              Attorney Pattis, how many times do I have to say when
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 47 of 57     45


     1              I'm speaking, you stop.      You have a member of the Bar



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                    for a long, long time, and you know the rules in all

                    the courts.     So, your objection was that it was a

                    motion in limine issue,     I thought.    That it would

     5              require him to lie.      I now hear that it's a different

     6              objection, that it's speculative, he's not an expert.

     7                   ATTY.    PATTIS:   I'm waiting to finish,    so I don't

     8              run afoul of your order.      And I - I have been an

     9              officer of the court for a long time, and as you know

    10              I insist on making my record.       So thank you, and I'm

    11              sorry that I stepped on your question.         I thought I

    12              wasn't done.     What I was trying to say was the

    13              following:    I objected because he's trying to get an



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                    evocation in the jury's presence, which is entirely

                    improper without permission of the Court.

                          I objected further because he was asking Mr.

    17              Jones a question and places him on the horns of the

    18              dilemma.     In the course of all of his proffer outside

    19              the jury's presence, he's now switched it to, one

    20              would expect, one would expect.        That is simply not

    21              relevant.     That's argumentative.      He's a fact

    22              witness.     His state of mind about his conduct is -

    23                    THE COURT:    I can't disagree with that.        So I

    24              will sustain the objection.       And where does that




•
    25              leave us with respect to possible future invocation?

    26                    ATTY. PATTIS:     If there's going to be an

    27              invocation,    I request that it be - that the prelude
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 48 of 57
                                                                                    46


    1               to it be outside the jury's presence, so that I could



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                    argue about whether the plaintiffs are entitled to an

                    adverse inference.

                          THE COURT:     All right.    So how does that work

     5              procedurally?      So there's a question.        You're going

     6              to invoke on his behalf?

     7                    ATTY. PATTIS:     I can't do that I don't think.

     8              Certainly in the jury's presence I'll argue - I'll

     9              simply say -

    10                    THE COURT:     I think in a civil case -

    11                    ATTY. PATTIS:     - motion about evocation.           Motion

    12              about evocation.

    13                    THE COURT:     Okay.    Does that work, Attorney



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    16
                    Mattei?

                          ATTY. MATTEI:

                          THE COURT:
                                            Sure.

                                         Okay.
                                                      That's fine.

                                                  So if that happens Mr. Jones,

    17              if that happens,     just put the brakes on, okay?

    18                    THE WITNESS:     Yes.

    19                    THE COURT:     So we can deal with it.        Okay.

    20              Let's bring the jury out.         So can I just see counsel

    21              in the meantime.

    22                    So I can count on one hand how many times I

    23              argued in the Supreme Court my entire career, and

    24              I've seen you argue, and you stop on a dime.            You got




•
    25              to do that for me.      You have a good record.        You have

    26              your -

    27                    ATTY. PATTIS:     You're right -
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 49 of 57
                                                                                     47


     1                     THE COURT:     I -



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                           ATTY. PATTIS:

                           THE COURT:

                           ATTY. PATTIS:
                                                You're right.

                                          It's a positive note.

                                                Look, Judge, here's the deal.

     5              I'm an advocate,      I get lost in the moment.        You've

     6              admonished me and I'm working on it.

     7                     THE COURT:     I know.        You're standing up for

     8              objections though.          Right?

     9                     ATTY. PATTIS:        I'm a member of advocates

    10              anonymous, Judge.       If I warm too much to my client's

    11              cause, that's why Courts are here to assure fair

    12              trials.




•
    13                     THE COURT:     We're good .

    14                     (Jury panel enters the courtroom).

    15                     THE COURT:     Okay.     Welcome back.     As promised,

    16              we were pretty quick,         so thank you for your patience.

    17              Please be seated.       The record will reflect that our

    18              entire panel has returned.             Let's give them a minute

    19              to settle in.       And whenever you're ready, Attorney

    20              Mattei, please.

    21                     ATTY. MATTEI:        Thank you, your Honor.

    22      BY ATTY. MATTEI:

    23         Q    You remember in your deposition, sir, you refer to -

    24      I asked you some questions about Robbie Parker, correct?




•
    25         A    I'm sorry, say that again.

    26         Q    I asked you some questions about Robbie Parker.

    27         A    Yes.
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 50 of 57     48


     1         Q     I showed you some videos, right?



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               A

               Q
                     Yes.

                     And I showed you a video where you were describing

            not just one parent, but a bunch of parents coming up and

     5      doing the fake crying and the laugh.           Do you remember that

     6      video?

     7         A     No, I don't.

     8         Q     Why don't we show 19-I.

     9                       THE COURT:   Which exhibit is this?     I'm sorry.

    10               19.

    11                       ATTY. MATTEI:     19-I.

    12                       THE COURT:   A, as in -

    13                       ATTY. MATTEI:     19-I .


•   14

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    16               exhibit.
                             THE COURT:

                             THE CLERK:
                                          I.

                                          I as in India.     It is a full



    17                       THE COURT:   Thank you.

    18      (Video played)

    19         Q     So Mr. Jones, does that refresh your recollection

    20      about referring to not just one parent, but a bunch of

    21      parents the fake crying and the laughing?

    22         A     Yes, it does.

    23         Q     Okay.     And when you were deposed, you acknowledged,

    24      did you not, that you had referred to the parents who have




•
    25      brought this case as actors.          Didn't you acknowledge that

    26      then?

    27         A     The only person's name I ever said was Robbie Parker.
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 51 of 57    .49


    1      But I guess that clip~ from like seven years ago, or



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           whatever it is.         A long time ago.

                              THE COURT:   All right.   So Mr. Jones,

                      get back to answering the questions, sir.
                                                                         just let's



     5         A      Oh, sorry.

     6                        THE COURT:   Thank you.

     7         Q      The question was, do you remember at your deposition

     8      where you acknowledged that the families who had brought

     9      this case, you had called actors.           Do you remember that

    10      testimony, sir?

    11         A      I think we've had like four depositions.          Which one

    12      was it?

    13         Q      Do you remember you were in my office.



•   14

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    16
               A

               Q


               A
                      Yes.

                      We were in a conference room.

                      Yes.

    17         Q      Okay.     I was sitting just about as far as I am from

    18      the court reporter from you.

    19         A      I'm trying to remember the - we've had quite a few.

    20         Q      You and I have only have two in person, correct?

    21         A      Yes, and then several over the -

    22         Q      We had one by Zoom, correct?

    23         A      No, we had - we had two.

    24         Q      All right.     Well, Mr. Jones,    I'm talking about the




•
    25      ones when you were in person sitting right next to me.

    26         A      Okay.     That's why I'm trying to refresh my memory.

    27          Q     So, am I correct that during that deposition, you
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 52 of 57    50


    1      acknowledged under oath that you had referred to these



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           families as actors.

               A    I don't remember the testimony, but until - I never

           even seen their faces until most of them sued me.           I don't

     5     know.    So I can't answer your question.         I don't have the

     6     answer to that.

     7         Q    You just don't remember that testimony is your

     8     answer, right?

     9         A    I believe it's the same testimony I gave here today.

    10         Q    Okay.     Well, why don't we -

    11                      ATTY. MATTEI:   May I approach, your Honor?

    12                      THE COURT:   You may.

    13         Q    Okay.     Mr. Jones, I'm going to ask you to look at



•   14

    15

    16
            page 252.



               Q
                            ATTY. PATTIS:   Which exhibit, sir?

                    You see there's a question where I say, I'm asking

    17      you -

    18                      ATTY. PATTIS:   Which exhibit, sir?

    19                      ATTY. MATTEI:   This is Mr. Jones' deposition.

    20                      ATTY. PATTIS:   Well there were four of them.

    21              Which one is that?

    22                      ATTY. MATTEI:   April 5, 2022.

    23                      ATTY. PATTIS:   Thank you.

    24                      THE COURT:   Page 252.




•
    25                      ATTY. PATTIS:   Thank you.

    26         Q    I'm asking if you'd agree with that?         You've given me

    27      two options here.      One option is, it's just an actor playing
         Case 23-03037 Document 58-15 Filed in TXSB on 05/12/23 Page 53 of 57   51


     1      a character.       The other option is it is somebody is really



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            who they say they are, but they are going along with the

            official script.

            Answer,    yes.
                                    Those are the options you gave me.

                               That's what you said, right?

     5         A      Yes.

     6         Q      The first - question, the first option, Robbie Parker

     7      is an actor creating a role.         In that circumstance, Robbie

     8      Parker is just a fictitious character.         Correct?   What'd you

     9      say?

    10         A      Yes.     That's role playing.

    11         Q      You said yes, right?

    12         A      Yeah.

    13         Q      Question, in that context, the actor playing Robbie



•   14

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    16
            Parker would be going out in front of the whole world to

            give a statement knowing that he is just playing a

            fictitious part.        Correct?   What did you say?

    17         A      Yes.

    18         Q      Do you remember in your deposition you acknowledged

    19      that for this hoax to work, it couldn't just be Robbie

    20      Parker who was an actor, they all had to be in on it.

    21      Correct?

    22         A      You've refreshed my memory.      I believe I was

    23      answering your hypothetical questions.

    24         Q      Listen to the question I just asked you.




•
    25         A      Right.

    26         Q      You acknowledged in your deposition, that when you

    27      were calling this a hoax, that in order for this hoax to be
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     1      pulled off,     it wouldn't just be Robbie Parker,        it would have



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            to be all the families who were actors.



               A
                            ATTY. PATTIS:
                                                              Correct?

                                               Objection to the form.

                    We were covering the controversy of was is staged or

     5      not.

     6                      THE COURT:      Overruled.

     7                      ATTY. MATTEI:      Move to strike, your Honor.

     8                      THE COURT:      Sustained.

     9         Q    Can you answer that question, sir?

    10         A    Can you refresh me with a transcript?

    11         Q    Sure.

    12         A    The last one was very helpful.




•
    13         Q    Let's do that again.         In fact,   you know what?     Let's

    14      just pull it up for everybody.

    15                      THE COURT:      So this is Exhibit -

    16                      ATTY. MATTEI:      One moment, your Honor.       We have

    17              this clip, right?         Your Honor, we're going to play a

    18              portion of Mr. Jones's deposition.           It's an

    19              admission.

    20                      ATTY.   PATTIS:    What was the exhibit number on

    21              this, Judge?

    22                      ATTY. MATTEI:      It's not an exhibit, it's an

    23              admission.      But -

    24                      ATTY. PATTIS:      What - that has an exhibit for




•   25              ID .

    26                      ATTY. MATTEI:      - we'll get you the number for

    27              the deposition.         While we're doing that.
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    1          Q    Mr. Jones, what's a Potemkin Village?



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               A    A Potemkin Village,    I believe goes back to examples

            like the - before the Russian Revolution they would - the

            Czars would build fake villages for PR stunts.          Then I think

     5      there was some -    I read the exact historic nature of -       I may

     6      be wrong about that.      It's something to do in Russian

     7      History and government staging events.

     8         Q    Right.   And this Potemkin Village would be filled

     9      with people that play parts, as if they were builders,

    10      correct?

    11          A   Yes.

    12          Q   Actors in a hoax that the government was staging.




•
    13      Yes .

    14          A   It's like the Truman Show.

    15          Q   The Truman Show, that's a movie.        Yes?

    16          A   Yes.

    17          Q   Where this fake village is plopped down and everybody

    18      populates it, is in on the hoax.        Yes?

    19          A   I think that's what the movie's about.

    20          Q   And that's what a Potemkin Village is to your

    21      understanding.

    22          A   It's got a lot of definitions, but I think that's a

    23      fair one.

    24          Q   Is that about right?      Is that how you were using it




•
    25      when you were deposed?

    26          A   You'd have to refresh my memory.

    27          Q   That's what we're trying to do here.
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                                                                                  54


    1          A    All right.



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               Q    All right.    We'll play it now.

            (Deposition played of Alex Jones).

                         ATTY. MATTEI:     This might be a good time for the

     5              lunch break, your Honor?

     6                    THE COURT:    I think so.

     7                    THE CLERK:    Your Honor,   I just need to know what

     8              exhibit that was.

     9                    THE COURT:    Can we get that too, Mr. Ferraro?

    10                    ATTY. MATTEI: Yes, this is 372.

    11                    THE COURT:    372.

    12                    ATTY. MATTEI:    Yes, your Honor.




•
    13                    THE COURT:    Okay.   So we will take our lunch

    14              break.   We'll be back right for 2 p.m.        It is as

    15              imperative as always that you continue to obey the

    16              rules of juror conduct.      Ron will take your notepads.

    17              If you go out - I'm not sure what the weather's like.

    18              It's hard to tell.     But if you do venture out,      just

    19              make sure that as you come back in, you avoid any of

    20              the witnesses or parties or lawyers associated with

    21              the case, and any media that you might see.

    22                    So I hope everyone has a nice lunch.        We'll take

    23              a recess.

    24      (Lunch recess)




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      ERICA LAFFERTY                          JUDICIAL DISTRICT WATERBURY



•     V.

      ALEX EMRIC JONES

      DKT NO:   X06-UWY-CV186046437-S
                                              AT WATERBURY, CONNECTICUT

                                              SEPTEMBER 22, 2022




      WILLIAM SHERLACH

      v.

      ALEX EMRIC JONES


      DKT NO:    X06-UWY-CV186046438-S


      WILLIAM SHERLACH

      v.

      ALEX EMRIC JONES

                             C E R T I F I C A T I O N




•           I hereby certify the foregoing pages are a true and correct

      transcription of the audio recording of the above-referenced

      case, heard in Superior Court, G.A. #4, Waterbury, Connecticut,

      before the Honorable Barbara Bellis, Judge, on the 22 nd day of

      September, 2022.




                Dated this 23 rd day of September, 2022 in Waterbury,

       Connecticut.




                                           Darlene Orsatti

                                           Court Recording Monitor




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